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 9                        UNITED STATES DISTRICT COURT
10                     SOUTHERN DISTRICT OF CALIFORNIA
11                                                Case No. 17-cv-2377 DMS (MDD)
      FRANK G. RAY,
12                                                ORDER (1) GRANTING MOTION
                   Plaintiff,                     TO PROCEED IN FORMA
13                                                PAUPERIS AND (2) DISMISSING
            v.                                    COMPLAINT WITHOUT
14                                                PREJUDICE FOR FAILING TO
      ANDREW MUSAELIAN, LISA                      STATE A CLAIM UPON WHICH
15    GIACOMINI, and DOES 1-10,                   RELIEF CAN BE GRANTED
      inclusive,                                  PURSUANT TO 28 U.S.C. §
16                                                1915(e)(2)(B)(ii)
                   Defendants.
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19         Plaintiff Frank G. Ray, proceeding pro se, has filed a Complaint against
20   Defendants Andrew Musaelian and Lisa Giacomini, alleging the following four
21   claims for relief: (1) violation of the Fair Debt Collection Practices Act (“FDCPA”),
22   15 U.S.C. § 1692 et seq., (2) violation of the Federal Trade Commission Act
23   (“FTCA”), 15 U.S.C. § 45, (3) injunctive relief under the FTCA, 15 U.S.C. § 53(b),
24   and (4) equitable relief under the FTCA, 15 U.S.C. §§ 53(b) & 57b. Plaintiff has
25   not paid the $400 civil filing fee required to commence this action, but rather, has
26   filed a Motion to Proceed In Forma Pauperis (“IFP”) pursuant to 28 U.S.C. §
27   1915(a).
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1    A.    Motion to Proceed IFP
 2         Pursuant to 28 U.S.C. § 1915(a), a court may authorize the commencement of
 3   a suit without prepayment of fees if a plaintiff submits an affidavit, including a
 4   statement of all his assets, showing that he is unable to pay filing fees. See 28 U.S.C.
 5   § 1915(a). Here, Plaintiff has submitted an affidavit which sufficiently shows that
 6   he lacks the financial resources to pay filing fees. Accordingly, Plaintiff’s motion
 7   to proceed IFP is granted.
 8   B.    Sua Sponte Screening
 9         Any complaint filed pursuant to the IFP provisions of 28 U.S.C. § 1915(a), is
10   subject to a mandatory and sua sponte review and dismissal by the Court, if it finds
11   the Complaint is “frivolous, malicious, failing to state a claim upon which relief may
12   be granted, or seeking monetary relief from a defendant immune from such relief.”
13   28 U.S.C. § 1915(e)(2)(B); Calhoun v. Stahl, 254 F.3d 845, 845 (9th Cir. 2001)
14   (“[T]he provisions of 28 U.S.C. § 1915(e)(2)(B) are not limited to prisoners.”).
15         Plaintiff’s first claim for relief is for violation of the FDCPA. The FDCPA
16   prohibits debt collectors from engaging in abusive, deceptive, and unfair practices
17   in the collection of consumer debts. 15 U.S.C. § 1692. To state a claim under the
18   FDCPA, a plaintiff must allege the following: “(1) the plaintiff has been the object
19   of collection activity arising from a consumer debt, (2) the defendant attempting to
20   collect the debt qualifies as a debt collector under the FDCPA, and (3) the defendant
21   has engaged in a prohibited act or has failed to perform a requirement imposed by
22   the FDCPA.” Miner v. Baker, No. 15-CV-2765-JAH (RBB), 2016 WL 6804440, at
23   *2 (S.D. Cal. Aug. 26, 2016) (citation omitted). Here, Plaintiff has not pleaded
24   sufficient facts to allege any of the requisite elements to state a claim under the
25   FDCPA. For example, Plaintiff has failed to plead Defendants are “debt collectors”
26   and the existence of a “consumer debt” within the meaning of the FDCPA. Plaintiff
27   merely alleges in a conclusory manner that Defendants violated the FDCPA by
28   making false, deceptive, or misleading representations in connection with the

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1    collection of a debt. Plaintiff, however, does not sufficiently allege any facts
 2   supporting these assertions. Accordingly, this claim is dismissed without prejudice.
 3         Plaintiff’s second claim is for violation of the FTCA, and the third and fourth
 4   claims are for injunctive and equitable reliefs under the FTCA. The FTCA prohibits
 5   “[u]nfair methods of competition in or affecting commerce, and unfair or deceptive
 6   acts or practices in or affecting commerce, are hereby declared unlawful.” 15 U.S.C.
 7   § 45(a)(1). Private litigants, however, “may not invoke the jurisdiction of the federal
 8   district courts by alleging that defendants engaged in business practices proscribed
 9   by [the FTCA]. The Act rests initial remedial power solely in the Federal Trade
10   Commission.” Dreisbach v. Murphy, 658 F.2d 720, 730 (9th Cir. 1981); see Kerr v.
11   Am. Home Mortg. Serv’g, Inc., No. 10-cv-1612 BEN (AJB), 2010 U.S. Dist. LEXIS
12   100076, at *7, 2010 WL 3743879 (S.D. Cal. Sep. 22, 2010) (stating that “[i]t is well-
13   established that there is no private right of action for violation of the FTCA; only the
14   Federal Trade Commission has standing to enforce it”). Because there is no private
15   right of action under the FTCA, these claims are dismissed with prejudice.
16   Accordingly, the Court sua sponte dismisses the Complaint.
17         IT IS SO ORDERED.
18   Dated: December 7, 2017
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